Case 2:04-cV-02072-.]P|\/|-de Document 40 Filed 06/06/05 Page 1 of 2 Page|D 52

 

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MARTJ:N MchAIN, individually, H_ m MEF;F§}§

and d/b/a MAC’S PLACE BAR &
GRILL,

Plaintiff,

V'»
No. 04-2072 Ml/V
CITY OF MILLINGTON, TENNESSEE,
a municipal corporation,

TULLY REED, JERRY LADD,

TROY WALLS and MICHAEL WEST,
individually, and in their
official capacities as police
officers for the

City of Millington, Tennessee

Defendants.

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ORDER GRANTING MOTION FOR ENLARGEMENT OF TIME TO RESPOND TO
DEFENDANTS' MOTION FOR SUMMARY JUDGMENT

 

Before the Court is Plaintiff's Motion for Enlargement of
Time to Respond to Defendants’ Motion for Summary Judgment, filed
June 3, 2005. Good cause having been shown, the Court GRANTS the
motion. The Plaintiff shall have until June 29l 2005, to respond
to Defendants' Motion for Summary Judgment.

So ORDERED this L|§day of June, 2005.

”\@MLQ

P. MCCALLA
ITED STATES DISTRICT JUDGE

 

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Honorable J on McCalla
US DISTRICT COURT

